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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
       -v-                                     Case No. 21-cr-00292 (RCL)
CHRISTOPHER WORRELL,
               Defendant.

               DEFENDANT’S SUPPLEMENT TO DEFENDANT’S REPLY

       Defendant, Christopher Worrell, by and through his counsel, requests leave of the Court to

tender this supplement to his Reply to the Government's Supplemental Brief as there are new and

material facts available that are relevant for the consideration of the Court.

       On May 30, 2021, Mr. Worrell, for the second time in under two weeks suffered a period

of unconsciousness and fell to the floor. He does not know how long he was unconscious.

Eventually he was discovered by either inmates or guards who put Mr. Worrell on a stretcher on

brought him to the medical unit. He remembers being asked a number of questions but having just

been unconscious and hit his head cannot remember the questions or how he answered them.

       Mr. Worrell has a large hematoma from where he landed on his head from the fall. After a

few minutes, to the best of his memory, he was given two over the counter painkillers and sent

back to his cell. He was never taken to the hospital. He was never examined further. He was never

given a CT scan for trauma, or evaluated further based on the fact that he has passed out twice in

two weeks and is known to have cancer and is currently not being treated for cancer. This incident

alone is deliberate indifference under Estelle. Estelle v. Gamble, 429 U.S. 97, 103-04 (1976).

       Mr. Worrell has been without cancer treatment while under control of the Government for

now 82 days. He has broken out in abnormal itchy skin lesions, begun passing out with alarming




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regularity. He also broke his hand during one of these black outs and has yet to have this broken

bone properly repaired, instead it has simply been wrapped and he is being treated for pain.

       Mr. Worrell’s life is in immediate risk if he is not released to doctors who know him and

can treat him with speed that is simply not possible given the strict regulations and deliberate pace

inside the DC Jail. Accordingly, Mr. Worrell should be released subject to the bail conditions of

Magistrate Judge McCoy.

Dated: June 1, 2021                           /s/ John M. Pierce
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                                 CERTIFICATE OF SERVICE

          I hereby certify that, on June 1, 2021, this motion and the accompany declaration was

filed via the Court’s electronic filing system, which constitutes service upon all counsel of

record.

                                               /s/ John M. Pierce
                                               John M. Pierce




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